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                                                                            P     O     L      E     If^
                         IN THE UNITED STATES DISTRICT COURT

                                                                                  S£P 1 7 2019
                        FOR THE EASTERN DISTRICT OF VIRGINIA                                         \!y
                                                                             CLERK. U.S. DISTRICT COURT
                                        Richmond Division                          RICHMOND. VA


 UNITED STATES OF AMERICA                           No. 3:19CR 128


                                                    Count 1: 18U.S.C. §922(gXl)
                                                   (Possession ofFirearm by a Convicted
 TRAVIS AARON BALL,                                 Felon)
       a/k/a "Wiz"


 Defendant.                                         Forfeiture Allegation


                                          INDICTMENT
                       SEPTEMBER 2019 TERM - at Richmond, Virginia

                                           COUNT ONE
                          (Possession ofFirearm by a Convicted Felon)

       On or about May 26, 2017, in the Eastern District of Virginia and within the jurisdiction

ofthis Court,the defendant,TRAVIS BALL,knowing he had previously been convicted ofa crime

punishable by imprisonment for a term exceeding one year, knowingly and unlawfully possessed

a firearm, to wit: a FIE, model Titan, .25 caliber, semi-automatic pistol, bearing serial number

ED96887,and the firearm was in and affecting commerce.

(In violation of Title 18, United States Code, Section 922(g)(1))


                                 FORFEITURE ALLEGATION

         Pursuant to Rule 32.2 Fed. R. Crim. P., the defendant is hereby notified that upon

 conviction ofthe offense alleged in Count One ofthis Indictment, he shall forfeit any firearm or

 ammunition involved in or used in any knowing violation of such offense. Property subject to

 forfeiture includes, but is not limited to:

       a FIE, model Titan,.25 caliber, semi-automatic pistol, bearing serial number ED96887;
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      all accompanying ammunition.

(In accordance with Title 21, United States Code, Section 853 and Title 18, United States
Code, Section 924(d), incorporated by Title 28, United States Code,Section 2461(c).)


                                                       A TRUE BILL:




                                                V-     FOREPERSON
                                                                   /
                                                                 /




      G.ZACHARY TERWILLIGER                                 tbe original oft^j^geliasbeen filed
      UNITED STATES ATTORNEY                                         sealis die aok's Office



By:
      Erik S. Siebert
      Stephen Anthony
      Assistant United States Attorneys
